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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO, Fn
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DISTR:

   
 
  

CARL WILSON, an individual, and
AUDREE WILSON, an individual,

Plaintiffs,
Vv. No. CIV 94-893 JC/LFG
HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation and
EUGENE LANDY, an individual,

Defendants.
CERTIFICATE OF MAILING

Defendant HarperCollins Publishers, Inc., by and through its
attorneys, Rodey, Dickason, Sloan, Akin & Robb, P.A., and Weil,
Gotshal & Manges, hereby certifies that a copy of the Order entered
August 29, 1995 granting the Joint Motion for Order Regarding
Extensions of Time was mailed to Ernesto J. Romero, 3602 Campus
Blvd., NE, Albuquerque, New Mexico, 87106, and to Beth Dumas,
Langberg, Leslie & Gabriel, 2049 Century Park East, Suite 3030, Los
Angeles, California, 90067, the 30th day of August, 1995.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

William S. Dixon
Attorneys for Defendant, HarperCollins
Publishers, Inc.
Post Office Box 1888
Albuquerque, New Mexico 87103
Telephone: (505) 765-5900

-and-

R. Bruce Rich

Katherine J. Daniels
WEIL, GOTSHAL & MANGES
767 Fifth Avenue

New York, New York 10153
Telephone (212) 310-8000
 

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We hereby certify that a copy of
the foregoing was mailed to all

counsel of record this 31st day

of August, 1995.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

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William S. Dixon ,

  

 
